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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
ALB:ADW                                             271 Cadman Plaza East
F. #2020R00142                                      Brooklyn, New York 11201


                                                    November 16, 2020

By ECF and Email

Gordon Mehler, Esq.
Mehler Law PLLC
747 Third Avenue, 32nd Floor
New York, New York 10017

              Re:      United States v. Keith Levy
                       Criminal Docket No. 20-87 (RPK)

Dear Mr. Mehler:

              Pursuant to Rule 16 of the Federal Rules of Criminal Procedure, the
government hereby provides additional discovery with respect to the above-referenced
matter. This disclosure supplements the government’s earlier disclosures under cover of
letter dated March 5, 2020, May 8, 2020, August 13, 2020 and October 27, 2020. The
government renews its request for reciprocal discovery from the defendant.

              The enclosed contains the following:

                     An email from January 26, 2020 to Parole Officer Omari Roberts,
                      Bates-numbered LEVY000147;

                     Documents prepared by the Department of Corrections and Community
                      Supervision in connection with parole officers’ attempts to locate the
                      defendant on January 27, 2020, Bates-numbered LEVY000148 –
                      LEVY000150;

                     A redacted transcript of the February 18, 2020 preliminary hearing on
                      the defendant’s then-pending parole violations, Bates-numbered
                      LEVY000151 – LEVY000201;

                     A search warrant for certain historical location data and supporting
                      affidavit, Bates-numbered LEVY000202 – LEVY000220; and

                     A parole revocation decision notice issued by the New York State
                      Board of Parole, Bates-numbered LEVY000221 – LEVY000224.
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               If you have any questions or requests regarding further discovery or a
disposition of this matter, please do not hesitate to contact me.

                                                  Very truly yours,

                                                  SETH D. DUCHARME
                                                  Acting United States Attorney

                                           By:     /s/ Andrew D. Wang
                                                  Andrew D. Wang
                                                  Assistant U.S. Attorney
                                                  (718) 254-6311

Enclosures

cc:    Clerk of the Court (RPK) (by ECF) (without enclosures)




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